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                                                                   #182
BAO 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 1


                                         UNITEDSTATESDISTRICTCOURT
                                                   Southern District of Illinois
          UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                              v.
                                                                      Case Number:                      4:05CR40033-003-JPG
             STEPHANIE M. RENNISON
                                                                      USM Number:                       06696-025

                                                                      Phillip A. Kramer
                                                                      Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s) 1 of the Superseding Indictment.
-
0 pleaded nolo contendere to count(s)
-
  which was accepted by the court.
0 was found guilty on count(s)
-
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                    Offense Ended           Count




       The defendant is sentenced as provided in pages 2 through                     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
0 Count(s)
-                                                 - is         g are dismissed on the motion of the United States.
         It 1s ordercd that the defendant must not~wthe United Swtes attorney for thia d~strictw~thin30 da s ofany change of name, res~den
or ma~lingsddressunnl all fines, restlhltion, costs, and spmal asscssmentb ~mposcdby thts judgmcntare fufiy paid. If ordered to pay rusotutlo
the defendant must not~fythe court and [Jnited Stales attorney of mater~alchanges in econonnc circumstances.




                                                                      J. Phil Gilbert, District Judce
                                                                      Name and Title of Judge
               Case 4:05-cr-40033-JPG                   Document 103 Filed 11/22/05                      Page 2 of 6      Page ID
                                                                  #183
A 0 245B                     - in Criminal Case
            (Rev. 06105). Judgment



DEFENDANT:
            Sheet 2 - Imprisonment


                               STEPHANIE M. RENNlSON
                                                                                                         ~udgmolt- Page       of    -
                                                                                                                                    L
CASE NUMBER:                   4:05CR40033-003-JPC


                                                              IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of

87 months of Count 1 of the Superseding Indicment.




     X      The colut makes the following recommendations to the Bureau of Prisons:
            That the defendant be placed in the Intensive Drug Treatment Program.



     X     The defendant is remanded to the custody of the United States Marshal

     -
     0     The defendant shall surrender to the United States Marshal for this district:
           0 at
           -                                         -
                                                     0 a.m.          p.m.     on
           0
           -     as notified by the United States Marshal.

     - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
           0 before 2 p.m. on
           -
           0 as notified by the United States Marshal.
           -
           0 as notified by the Probation or Pretrial Services Office.
           -

                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered                                                             to

a                                                      , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
              Case 4:05-cr-40033-JPG                    Document 103 Filed 11/22/05                          Page 3 of 6           Page ID
                                                                  #184


A 0 245B     (Rev 06105) Judgment m a Cnmmal Case
             Sheet 3 -S u p s e d Release                                                                                                      . -
 DEFENDANT: STEPHANIE M. RENNISON,
                                                                                                                           -                       -
 CASE NUMBER: 4:05CR40033-003-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall he on supervised release for a term of:

  87 months on Count 1 of the Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determmed by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a 4ne or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of thls judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer,
           the defendant shall report to the probation officer and shall submit a truthful and complete wrinen report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any conholled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view ofthe probation officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as direcrcd by the rob.ition dtiser, the dcfi.nJmt shall notitj rhird panic, o i r i d s that ma> he occasioned by the dcfcnJant'sr.riminal
           record or personil()history or chmcteristiis and shall permit the prt~bationotlicer ro make such norilications and 10 confirm thc
           detenJant s cornpl~dncewith \uzh notification requlremcnt.
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A 0 2458   (Rev. 06105) Jud-t      in a Criminal Case
           Sheet 3C - ~ u p & ~ s e dRelease                                                               I   /
                                                                                           Judgment-Page           of    b
DEFENDANT:                 STEPHANIE M. RENNISON
CASE W E R :               4:05CR40033-003-JF'G

                                          SPECIAL CONDITIONS OF SUPERVISION
        The defendant shall participate in a program of mental health treatment, as directed by the probation officer until
such time as the defendant is released from the program by the probation officer.
 The defendant shall pay any finanaal penalty that 1s mposed by t h ~ judgment
                                                                      s        and that rema~nsun a ~ at
                                                                                                      d the
commencement of the term of superv~sedrelease. Thc defendant shall pay
                                                                   . . thc tine in ~nstallmentso?$l0.00 or ten Derccnt o
her net monthly income, whichever is greater.
  The defendant shall prov~dethe prohat~onofticer and the Fmanc~al1.1t1gat1on
                                                                            unlt of the Un~tedStates Attorney's Office
w~thaccess to any requested financ~al~nformat~on. The defendant 1s adwsed that the probat~onoffice may share tinanc~al
information with~theFinancial Litigation Unit.
  The defendant shall appl all monies received from income tax refunds, lottery winnings, judgments, andor any other
anticipated or unexpected gnancial ins to the outstanding court-ordered financial obligation. The defendant shall
                                           8
immediately notify the probation o lcer of the receipt of any indicated monies.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                          i'
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence andor partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. d e defendant shall pay for the costs associated with substance abuse counselmg andor testing based
on a co-pay sliding fee scale approved by the United States Probatoin Office. Co-pay shall never exceed the total costs of
counseling.
              Case 4:05-cr-40033-JPG                   Document 103 Filed 11/22/05                     Page 5 of 6      Page ID
                                                                 #186
A 0 245B   (Rev. 06105) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                     Judgment - Page L)of            v

                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                     Assessment                                                                          Restitution
TOTALS             $ 100.00                                                                            $ 0



- The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0 245C) will be enter
     after such determination.

-
0    The defendant must make restitution (including comonity restitution) to the following payees in the amount listed below.


                                                         z,
     It'thc defendant makcs a part~alpayment, tach pa ee shall rcccwe an approx~mately ro ortloned ayment, unless spec~ficdothcrulsc
     the prionry order or percentage payment column clam, HomSe\w,pursuant to 18s!(
     bcforc rhc lln~tedStates 1s p a d
                                                                                                p.
                                                                                           6 36646), all nonfederal v~ctlrnsmust be p

Name of Pavee                                  Total Loss*                      Restitution Ordered               Prioritv or Percentage




TOTALS                               $                           0         $                           0


-     Restitution amount ordered pursuant to plea agreement $

-
0     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or h e is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      x    the interest requirement is waived for the         E h e    E       restitution.

      -
      0    the interest requirement for the           fine     g restitution is modified as follows:


* Findings for the total amount of losses are required under Cbapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or aft
 September 13, 1994, but before Apr~l23, 1996.
               Case 4:05-cr-40033-JPG                    Document 103 Filed 11/22/05                   Page 6 of 6         Page ID
                                                                   #187
A 0 2456   (Rev. 06105) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                       Judgment - Page   b of              6-
DEFENDANT:                  STEPHANIE M. RENNISON
CASE NUMBER:                4:05CR40033-003-JPG

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A          Lump sumpayment of $                               due immediately, balance due

           0
           -     not later than                                   2   01
           o
           -     in accordance           -    C,      g D,    o       E, or     1F below; or
B     o    Payment to begin immediately (may be combined with                 o C,    -
                                                                                      0 D, or   o F below); or
C     o    Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     o Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release fiom imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release fiom
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     rn
      -    Special instructions regarding the payment of criminal monetary penalties:
           Payments are due immediately, through the Clerk of the Court, but may be paid fiom prison earnings in compliance with the
           Inmate Financial Responsibih Program. An fmanclal penalties that remain unpaid at the commencement of the term of
                                              2
           supervised release shall be pai at the rate of Jl0.00 per month, or 10 % of defendant's monthly net earnings, whichever is
           greater.



Unless the coun has express1 ordered othetwise, ifth~s
                                                     jud menr imposes imprisonment, pa ment ofcruninal monetary penalties 1s due durin
imprtsonnlent. All crlminarmonrta penalties, except hose payments made through tic Federal Bureau of Prisons' Inmate Financi
Responsibihty Program are made t o x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



-
0     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




-
0     The defendant shall pay the cost of prosecution.
0
-     The defendant shall pay the following court cost(s):
0
-     The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         1.
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) pena aes, and (8) costs, mclndmg cost of prosecution and court costs.
